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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

 JOY BANNER, Ph.D.                                                CIVIL ACTION


 VERSUS                                                           CASE NO. 23-7296


 ST. JOHN THE BAPTIST PARISH, et al.                              SECTION: “G”

                                           ORDER

      Considering the imminent trial date in this matter,

      IT IS HEREBY ORDERED that the automatic referral of Plaintiff’s Motion for

Sanctions1 is VACATED.

      NEW ORLEANS, LOUISIANA, this 24th
                                   ____ day of January, 2025.




                                                   ________________________________
                                                   NANNETTE JOLIVETTE BROWN
                                                   CHIEF JUDGE
                                                   UNITED STATES DISTRICT COURT




      1
          Rec. Doc. 92.
